






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN





NO. 03-10-00054-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


Stripe-A-Zone Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-10-000196, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00055-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Ranger Excavating L.P., Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 126TH JUDICIAL DISTRICT

NO. D-1-GN-10-000194, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00056-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


The Overton Company, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-10-000195, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING










NO. 03-10-00057-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


All Seasons Waterproofing &amp; Restoration Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-10-000197, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00058-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Wellsco Enterprises Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-10-000181, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00465-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Whiting Systems Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-10-002254, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00466-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


Moore Contracting, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-10-002255, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00467-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


Hull Supply Company Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-10-002256, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00468-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Fuquay Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 419TH JUDICIAL DISTRICT

NO. D-1-GN-10-002257, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00483-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Dumas Hardware Company, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-10-002366, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00484-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Gaffey, A Division of Crane Equipment &amp; Service Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-10-002367, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00485-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Carlton-Bates Company, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-10-002368, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00486-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Raintree Construction Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 353RD JUDICIAL DISTRICT

NO. D-1-GN-10-002400, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING








NO. 03-10-00487-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Tess Inc. d/b/a Internal Control Systems, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 200TH JUDICIAL DISTRICT

NO. D-1-GN-10-002482, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00488-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


Clean Air Technologies Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 201ST JUDICIAL DISTRICT

NO. D-1-GN-10-002483, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00489-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Hagler &amp; Kerr L.L.C., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-10-002484, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00490-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


L &amp; O Electric Inc., Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-10-002562, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00491-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Tejas Glass Inc. d/b/a Texas Glass, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 345TH JUDICIAL DISTRICT

NO. D-1-GN-10-002563, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00643-CV






C.D. Henderson Construction Services Ltd., Appellant


v.


Excell Environmental Inc., Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 250TH JUDICIAL DISTRICT

NO. D-1-GN-10-002845, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING









NO. 03-10-00645-CV





C.D. Henderson Construction Services Ltd., Appellant


v.


Walker Engineering Inc., Appellee





FROM THE DISTRICT COURT OF TRAVIS COUNTY, 261ST JUDICIAL DISTRICT

NO. D-1-GN-10-003134, HONORABLE SUZANNE COVINGTON, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N


PER CURIAM

		Appellant C.D. Henderson Construction Services Ltd. has filed motions requesting
that these twenty related appeals be dismissed.  See Tex. R. App. P. 42.1(a)(1).  We grant the
motions and dismiss the appeals.


Before Chief Justice Jones, Justices Patterson and Henson

Dismissed on Appellant's Motion

Filed:   December 31, 2010


